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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 W. CLARK APOSHIAN,                                                 JUDGMENT

        Plaintiff,
                                                         Case No. 2:19-cv-00037-JNP-CMR
 v.
                                                             District Judge Jill N. Parrish
 MERRICK GARLAND, Attorney General of
 the United States, et al.,

        Defendants.


        IT IS ORDERED AND ADJUDGED that summary judgment is entered in favor of Plaintiff

W. Clark Aposhian and against Defendants Merrick Garland and others. The court hereby

ORDERS as follows:

        1. Defendants are hereby PERMANENTLY ENJOINED from enforcing the regulation of

the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), Bump-Stock-Type Devices,

83 Fed. Reg. 66,514 (Dec. 26, 2018) (“Final Rule”) against Plaintiff;

        2. Pursuant to its authority under 5 U.S.C. § 706(2), the court “hold[s] unlawful and set[s]

aside” the Final Rule and its enforcement within the jurisdiction of the United States District Court

for the District of Utah; and

        3. Defendants shall return to Plaintiff the bump stock they confiscated from him in March

2019.
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      DATED August 13, 2024.

                                   BY THE COURT



                                   ________________________________

                                   Jill N. Parrish
                                   United States District Court Judge
